                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR06-3014-MWB
 vs.                                                    DETENTION ORDER
 THOMAS FRANCES CARROLL,
               Defendant.
                                 ____________________


        This matter came on for detention hearing before the undersigned. Assistant U.S.
Attorney Forde Fairchild appeared on behalf of the plaintiff (the “Government”). The
defendant Thomas Frances Carroll appeared in person with his attorney, Scott Rhinehart.
The Government offered the testimony of ATF Special Agent Dee Loper.
        The court must determine whether any condition or combination of conditions will
reasonably assure Carroll’s appearance as required, as well as the safety of any other
person and the community, in deciding whether to grant the Government's motion for
detention. 18 U.S.C. § 3142(e). A defendant may be detained based on a showing of
either dangerousness or risk of flight; it is not necessary to show both. United States v.
Apker, 964 F.2d 742, 743 (8th Cir. 1992); United States v. Sazenski, 806 F.2d 846,848
(8th Cir. 1986).
        The court is to presume that no condition or combination of conditions will
reasonably assure the appearance of Carroll as required and the safety of the community
if the court finds there is probable cause to believe Carroll committed an offense for which
a maximum term of imprisonment of ten years or more is prescribed in the Controlled
Substances Act, 21 U.S.C. § 801 et seq. This presumption is subject to rebuttal by
Carroll. 18 U.S.C. § 3142(e); see 18 U.S.C. § 3142(f)(1)(C). The probable cause
element of section 3142(e) that triggers the rebuttable presumption of risk of flight and


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danger to the community may be established through evidence presented at the detention
hearing of an offense which is subject to the rebuttable presumption. See Apker, 964 F.2d
at 744; United States v. Dorsey, 852 F.2d 1068, 1069 (8th Cir. 1988). A grand jury’s
indictment provides the probable cause required under 18 U.S.C. § 3142(e) to trigger the
rebuttable presumption of risk of flight and danger to the community. See United States
v. Garcia, 801 F. Supp. 258 (S.D. Iowa 1992) (citations omitted).
       In the present case, the evidence indicates Carroll was found in possession of
numerous firearms, many of them loaded, and a quantity of methamphetamine in close
proximity to a loaded firearm. On this record, the evidence also strongly indicates Carroll
was involved in a drive-by shooting incident, a personal physical assault on another, and
incidents of supplying firearms for others to use in protecting Carroll’s home. He also has
been found in possession of a very large sum of cash.
       In addition, Carroll has failed to offer any evidence to rebut the presumption that
he would be a danger to the community. The presumption arises from the charge itself.
See, e.g., United States v. Cox, 635 F. Supp. 1047, 1055 (D. Kan. 1986) (citing United
States v. Fortna, 769 F.2d 243, 247 (5th Cir. 1985). Viewing the record as a whole, the
court finds nothing to indicate Carroll would be able to refrain from continuing to engage
in criminal activities if he were released.
       Accordingly, the court finds the Government has proved by a preponderance of the
evidence that Carroll is a flight risk, and has proved by clear and convincing evidence that
Carroll would be a danger to the community if released. Therefore, the court finds the
following:
       1.     Carroll is committed to the custody of the Attorney General for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal.




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      2.      The Attorney General shall afford Carroll reasonable opportunity for private
consultation with counsel while detained.
      3.      On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver Carroll to the
United States Marshal for the purpose of an appearance in connection with a court
proceeding.
      4.      If a “review” motion for revocation or amendment is filed, pursuant to 28
U.S.C. § 3145(a) or (b), the party requesting a change in the original order must:
              (a)    Attach a copy of the release/detention order to the appeal;
              (b)    Promptly secure a transcript.
      5.      There is no automatic stay of this Order. Therefore, Carroll must request
such relief from the court.
      IT IS SO ORDERED.
      DATED this 26th day of April, 2006.




                                          PAUL A. ZOSS
                                          MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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